               Case 23-52395-pmb                        Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                            Desc
                                                         Voluntary Petition Page 1 of 69
 Fill in this information to identify your case:
                                                                                                    • ILLU i;LERK'S
                        d
 United States Bankruptcy     ourt for the:
                                       -
                                                                                                     'U.S., BANKRUPTCY COUR 1
                                                                                                         NORTHERN DISTRICT
n o14142471    District of    eoir I a                                                                        OF GEORGIA
                                                              •,
 Case number (If known):                                            hag..tejyou a   filing under:
                                                                            ter                     1023 MAR 13 PM 1: 11
                                                                   0 Chapter 11
                                                                   ID Chapter 12                         M. REGINA THOMAS
                                                                      Chapter 13                               CLERK                    U   Check if this is an
                                                                                                                                            amended filing
                                                                                                     y
                                                                                                          DEPUTY CI
Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:      Identify Yourself

                                       About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name
   Write the name that is on your
   government-issued picture
                                              kt(ec,e
                                       Fipyt name ,                                                        First name
   identification (for example,
   your driver's license or
   passport).
                                        Dr ciato
                                       Middle name                                                         Middle name

   Bring your picture
   identification to your meeting      Last name                                                           Last name
   with the trustee.
                                       Suffix (Sr., Jr., 11,111)                                           Suffix (Sr., Jr., 11, Ill)




2. All other names you
   have used in the last 8             First name                                                          First name
   years
    Include your married or            Middle name                                                         Middle name
    maiden names.
                                       Last name                                                           Last name


                                       First name                                                          First name


                                       Middle name                                                         Middle name


                                       Last name                                                           Last name




3. Only the last 4 digits of
                                       )(XX      — )0( —                                                   XXX       — XX —
    your Social Security
    number or federal                  OR                                                                  OR
    Individual Taxpayer
    Identification number              9 xx — xx —                                                         9 xx — xx —
    (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                         page 1
              Case 23-52395-pmb                         Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                    Desc
                                                          Voluntary Petition Page 2 of 69
Debtor 1
             First Name
                            8voLdLYI
                          Middle Name
                                                   14-9-rext4/wt.
                                                      -
                                                     Last Name
                                                                                  Case number (It known)




                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
                                        U I have not used any business names or EINs.                 U I have not used any business names or EINs.
   and Employer
   Identification Numbers
   (EIN) you have used in               .1./15C,}/ i3OS     I r/P56
   the last 8 years                     Business name                                                 Business name

    Include trade names and                    QA,  jilicw)6440Vial
    doing business as names             Business name                                                 Business name



                                        EIN                                                           EIN

                                         560_9.56
                                        EIN
                                                                      oo                              EIN




5. Where you live                                                                                     If Debtor 2 lives at a different address:



                                        3ILIC
                                        Number          Street
                                                                      (--rdreoi5 Ocuj                 Number       Street




                                                                         &A-             3bocup
                                        City                                    State     ZIP Code    City                                 State     ZIP Code


                                        County
                                                    im vie 14'                                        County

                                        If your mailing address is different from the one             If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send         yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                   any notices to this mailing address.



                                        Number           Street                                       Number       Street


                                        P.O. Box                                                      P.O. Box


                                        City                                     State    ZIP Code    City                                  State    ZIP Code




 6. Why you are choosing                Check one:                                                    Check one:
    this district to file for
                                               Over the last 180 days before filing this petition,    U Over the last 180 days before filing this petition,
    bankruptcy
                                               I have lived in this district longer than in any         I have lived in this district longer than in any
                                               other district.                                          other district.

                                        U I have another reason. Explain.                             U I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




 Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
              Case 23-52395-pmb                             Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                        Desc
                                                             Voluntary Petition Page 3 of 69
Debtor 1        , (lieSe
                1
             First Name    Middle Name
                                             de 0        Last Name
                                                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
   Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                             Id Chapter 7
   under
                                             U Chapter 11

                                             U Chapter 12

                                             •     Chapter 13


8. How you will pay the fee                        I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                                   yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                    submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                   with a pre-printed address.

                                             •     I need to pay the fee in installments. If you choose this option, sign and attach the
                                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).


                                    4               I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                                   pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                   Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you filed for                              No
   bankruptcy within the
   last 8 years?                         ,        "Yes. District                              When                         Case number
                                                                                                     MM/ DD / YYYY
                                                         District                             When                         Case number
                                                                                                     MM/ DD / YYYY
                                                         District                             When                         Case number
                                                                                                     MM/ DD / YYYY



10.Are any bankruptcy                             ' No
   cases pending or being
   filed by a spouse who is                      U Yes. Debtor                                                             Relationship to you
   not filing this case with                              District                            When                        Case number, if known
   you, or by a business                                                                             MM/DD / YYYY
   partner, or by an
   affiliate?
                                                          Debtor                                                           Relationship to you
                                                          District                            When                        Case number, if known
                                                                                                     MM / DD / YYYY


11. Do you rent your                         U No. Go to line 12.
    residence?                               OYes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                   residence?

                                                          U No. Go to line 12.
                                                          a Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                               this bankruptcy petition.



 Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1                                                                                             Case number (if known)
              First Name        Middle Name            Last Name




Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor ,,'No. Go to Part 4.
    of any full- or part-time
    business?                  U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                      Number       Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                                                                         State           ZIP Code
                                                       City


                                                      Check the appropriate box to describe your business:
                                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      U None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
    For a definition of small             g      No. I am not filing under Chapter 11.

    business debtor, see                      U No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                           the Bankruptcy Code.

                                              U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


 Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                      'No
    property that poses or is
    alleged to pose a threat                  U Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                                 If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?
                                                                                 Number        Street




                                                                                 City                                             State   ZIP Code


 Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                 page 4
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                                                          Voluntary Petition Page 5 of 69
Debtor 1    0, lives&
              Fiist Name
                                  I   vvideo
                             Middle Name
                                                        firemowt--
                                                     Last Name
                                                                                                         Case number (If known)




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                  You must check one:
    counseling.                                                                                                 U I received a briefing from an approved credit
                                           2rl 'received a briefing from an approved credit
                                              counseling agency within the 180 days before I                      counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                          certificate of completion.
    counseling before you file for                                                                                Attach a copy of the certificate and the payment
                                              Attach a copy of the certificate and the payment
    bankruptcy. You must                                                                                          plan, if any, that you developed with the agency.
                                              plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you              U I received a briefing from an approved credit                      U I received a briefing from an approved credit
    cannot do so, you are not                counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    eligible to file.                        filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                           certificate of completion.
    If you file anyway, the court            Within 14 days after you file this bankruptcy petition,                 Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you               you MUST file a copy of the certificate and payment                     you MUST file a copy of the certificate and payment
    will lose whatever filing fee            plan, if any.                                                           plan, if any.
    you paid, and your creditors
    can begin collection activities        U I certify that I asked for credit counseling                       U I certify that I asked for credit counseling
    again.                                   services from an approved agency, but was                            services from an approved agency, but was
                                             unable to obtain those services during the 7                         unable to obtain those services during the 7
                                             days after I made my request, and exigent                            days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                             of the requirement.                                                  of the requirement.
                                              To ask for a 30-day temporary waiver of the                            To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                        requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                      what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                      you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                             bankruptcy, and what exigent circumstances
                                              required you to file this case.                                        required you to file this case.
                                               Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                         You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                               may be dismissed.                                                     may be dismissed.
                                               Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                               days.                                                                 days.

                                           U I am not required to receive a briefing about                       U I am not required to receive a briefing about
                                             credit counseling because of:                                         credit counseling because of:

                                               U Incapacity. I have a mental illness or a mental                     U Incapacity.      I have a mental illness or a mental
                                                             deficiency that makes me                                                   deficiency that makes me
                                                             incapable of realizing or making                                           incapable of realizing or making
                                                             rational decisions about finances.                                         rational decisions about finances.
                                               U Disability.      My physical disability causes me                   U Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                      to be unable to participate in a
                                                                  briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                  through the internet, even after I                                    through the internet, even after I
                                                                  reasonably tried to do so.                                            reasonably tried to do so.
                                               U Active duty. I am currently on active military                      U Active duty. I am currently on active military
                                                              duty in a military combat zone.                                       duty in a military combat zone.

                                               If you believe you are not required to receive a                      If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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                                                       Voluntary Petition Page 6 of 69
Debtor 1
            Ct vres
                Name     4-
                             13 vt:t di44
                         Middle Name              Lest Name
                                                                                                  Case number (if known)




Part 6:    Answer These Questions for Reporting Purposes

                                       16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                  as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             U No. Go to line 16b.
                                            (Z ' Yes. Go to line 17.
                                       16b.Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                             U No. Go to line 16c.
                                           itd Yes. Go to line 17.

                                       16c.State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                         U No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after e       a    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                 U No
    administrative expenses
    are paid that funds will be                  U Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do              21 1-49                                  U 1,000-5,000                              U 25,001-50,000
    you estimate that you              U 50-99                                  U 5,001-10,000                             U 50,001-100,000
    owe?                               U 100-199                                U 10,001-25,000                            U More than 100,000
                                       U 200-999

19. How much do you                    Jih0-$50,000                                 $1,000,001-$10 million                   $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                  $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                         $50,000,001-$100 million                 $10,000,000,001-$50 billion
                      0-C
                                          $500,001-$1 million                       $100,000,001-$500 million              U More than $50 billion

20. How much do you                         $0-$50,000                              $1,000,001-$10 million                   $500,000,001-$1 billion
    estimate your liabilities               $50,001-$100,000                        $10,000,001-$50 million                  $1,000,000,001-$10 billion
    to be?                                  $100,001-$500,000                       $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                     $100,000,001-$500 million              U More than $50 billion
 Part 7:    Sign Below

                                       I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                               correct.
                                       If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                       of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                       under Chapter 7.
                                       If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                       this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                       I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                       I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                       with a bankruptcy case     result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                       18 U .C. §§ 152, 13        19, and 3571.


                                                                 -
                                            Signature of Debtor                                             Signature of Debtor 2

                                            Executed on                                                     Executed on
                                                              MM I DD /YYYY                                                MM / DD   /YYYY
                                                              "WWW-eiNARKAMMEMZWIAMM,5USRAMWBEI,,,EMEOMERWal;MMWMTMVARNM=OPONY:arftaMSEM, "


 Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                     page 6
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                                                              Voluntary Petition Page 7 of 69
                   /404r e St          rei
Debtor 1                                                                                                    Case number (if known)
             First Name      Middle Name               Last Name



                             :.smarmstsisorisrissmit     .                         sm,:rrtiliim&immtwremitsitantrisimmasittaietwaiminimastssmustisssztnwfmairmamormstatisirritrammtaimationtoasiza

                                          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                          the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                                       Date
                                                Signature of Attorney for Debtor                                                          MM       /    DD / YYYY




                                                Printed name


                                                Firm name


                                                Number       Street




                                                City                                                                   State              ZIP Code




                                                Contact phone                                                          Email address




                                                Bar number                                                             State




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 Debtor 1         Aki ti eSt.   131/eth-971
                            Middle Name
                                                    I'V'Ke444aP1-'
                                                  Last Name
                                                                                             Case number (If known)
              First Name




  For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
, bankruptcy without an                   should understand that many people find it extremely difficult to represent
  attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                          consequences, you are strongly urged to hire a qualified attorney.
  If you are represented by
i an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
  need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                          dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                          hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                          firm if your case is selected for audit. If that happens, you could lose your right to file another
                                          case, or you may lose protections, including the benefit of the automatic stay.
                                          You must list all your property and debts in the schedules that you are required to file with the
                                          court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                          in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                          property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                          also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                          case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                          cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                          Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                          If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                          hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                          successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                          Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                          be familiar with any state exemption laws that apply.

                                          Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                          consequences?
                                          o No
                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or incomplete, you could be fined or imprisoned?
                                          U No
                                          -a -Yes

                                          Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                             No
                                          U Yes. Name of Person
                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                          have read and undersod this notice, and I am aware that filing a bankruptcy case without an
                                          at ney may cause yfie to lose my rights or property if I do not properly handle the case.

                                              t

                                            Signature of Debtor 1                                       Signature of Debtor 2

                                          Date                                                          Date
                                                              MM/DD                                                      MM/ DD /YYYY

                                          Contact phone                                                 Contact phone

                                          Cell phone                                                    Cell phone

                                          Email address                                                 Email address

 FEWCINIMIZMIE25=MMNEWACEME                          MORMY               MUMMA        1MTE    MIEMS141,4,:      WIWATIMMITA%

  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                              page 8
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                                                             Voluntary Petition Page 9 of 69
   Fill in this information to identify your case:


   Debtor 1                   res-e
                         First Name
                                               &tam
                                                  Middle Name
                                                                              raewrioLast Name

   Debtor 2
   (Spouse, if filing)   First Name               Middle Name                        Last Name


   United States Bankruptcy Court for the: natilitiel           District of

   Case number
   (If known)                                                                                                                               Check if this is an
                                                                                                                                            amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number Of known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        Z  arried
        U Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
         No
       U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                                      Dates Debtor 1 Debtor 2:                                       Dates Debtor 2
                                                                              lived there                                                    lived there

                                                                                                 U   Same as Debtor 1                       U   Same as Debtor 1

                                                                          From                                                                  From
                 Number               Street                                                         Number Street
                                                                          To                                                                    To



                 City                          State ZIP Code                                        City               State ZIP Code


                                                                                                 U   Same as Debtor 1                       U   Same as Debtor 1

                                                                              From                                                              From
                 Number               Street                                                         Number Street
                                                                          To                                                                    To



                 City                          State ZIP Code                                        City               State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community properly
          s and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and NMsconsin.)
       st2leNo
       U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 1
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Debtor 1     bartv 8ratem
                First Name      Middle Name
                                                         6tewicco
                                                     Last Name
                                                                                                    Case number (ifim.)




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     L 110

     5     Yes. Fill in the details.

                                                           Debtor 1                                           Debtor 2

                                                           Sources of income         Gross income             Sources of income        Gross income
                                                           Check all that apply.     (before deductions and   Check all that apply.    (before deductions and
                                                                                     exclusions)                                       exclusions)

            From January 1 of current year until            U Wages, commissions,
                                                              bonuses, tips
                                                                                             49-              U Wages, commissions,
                                                                                                                bonuses, tips
            the date you filed for bankruptcy:
                                                            U Operating a business                            U Operating a business


            For last calendar year:                         U Wages, commissions,                             U Wages, commissions,
                                                              bonuses, tips                                     bonuses, tips
            (January 1 to December                          U Operating a business                            U Operating a business
                                              YYYY




            For the calendar year before that:              U Wages, commissions,                             U Wages, commissions,

            (January 1 to December 31,
                                                              bonuses, tips
                                                            U Operating a business
                                                                                        igri e100               bonuses, tips
                                                                                                              U Operating a business
                                              YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         1<o
     U     Yes. Fill in the details.

                                                           Debtor 1                                            Debtor 2

                                                            Sources of income        Gross income from         Sources of income       Gross income from
                                                            Describe below.          each source               Describe below.         each source
                                                                                     (before deductions and                            (before deductions and
                                                                                     exclusions)                                       exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




            For last calendar year:

             (January 1 to December 31,              )
                                              YYYY




            For the calendar year before that:

            (January 1 to December 31,               )
                                              YYYY




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Debtor 3   blagge             (50We/I                    ra•ebittO                                    Case number (rkr...)
              First Name       Middle Name                 Last Name




 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     U No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              U No. Go to line 7.

              Uri<e-s. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                       total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                       child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             *Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     U Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              Ele<Go to line 7.

              U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                     creditor. Do not include payments for domestic support obligations, such as child support and
                     alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                          Dates of     Total amount paid         Amount you still owe   Was this payment for...
                                                                          payment


                    rlaslite Credit- Accof144.1                                                                $50,t994/                U Mortgage
                                                                                                                                        ear
                                             4       007
                               11       /
                     Number    Street                                                                                                   U Credit card
                                                                                                                                        U Loan repayment
                                                                                                                                        U Suppliers or vendors
                    ( 1/ 0
                     City                                  172:'60dr                                                                    U Other



                     rreSf         POGreSS                                                                                              U Mortgage
                      Creditor's Name
                                                                                                                                        U Car

                     Number    Street                                                                                                   Ja<edit card
                                                                                                                                        U Loan repayment
                                                                                                                                        U Suppliers or vendors

                     City                        State         ZIP Code
                                                                                                                                        U Other



                      SeiF 11,44be                                                                                                      U Mortgage
                     Creditor's Name
                                                                                                                                        U Car

                     Number    Street                                                                                                   JEKedit card
                                                                                                                                        U Loan repayment
                                                                                                                                        U Suppliers or vendors

                     City                        State         ZIP Code
                                                                                                                                        U Other




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Debtor 1    6karest 6r adem
                   First Name      Middle Name
                                                         Feretvetvi
                                                         Last Name
                                                                                                     Case number whim/0




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     6MC10
     U Yes. List all payments to an insider.
                                                                        Dates of     Total amount      Amount you still    Reason for this payment
                                                                        payment      paid              owe


            Insiders Name



            Number        Street




            City                                 State   ZIP Code




            Insiders Name


            Number        Street




            City                                 State   ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     LIE No
     U     Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still Reason for this payment
                                                                       payment        paid             owe              Include creditor's name



            Insiders Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name



            Number        Street




            City                                 State   ZIP Code




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Debtor 1     0,haiese
                  Fast Name
                                         (3raden
                                       Middle Name            Last Name
                                                                                                               Case number (if lawwn)



  Part 4:        Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.


           'Yes. Fill in the details.
                                                                     Nature of the case                  Court or agency                                 Status of the case


             Case title   a              S".5(55/
                                                                                                         /Oa q a.cA,-,7
                                                                                                        court       S         fe.
                                                                                                                                         oF "--e."'"# -W19--ending
                                                                                                                                        C7e.e.*-y (4
       0.1) rep                                                                                         Number     Street
                                                                                                                                                         U On appeal
                                                                                                                                                         U Concluded
                    numbera
             Case
                                                                                                        City                    State   ZIP Code
                              19—           /(/ — 3o0

             Case title                                                                                 Court Name
                                                                                                                                                        ea<      -
                                                                                                                                                                11:ling
                                                                                                                                                         U On appeal
                                                                                                        Number     Street                                U Concluded

             Case number
                                                                                                        City                    State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Chec II that apply and fill in the details below.

       No. Go to line 11.
     U Yes. Fill in the information below.

                                                                              Describe the property                                      Date          value of the property



                  Creditor's Name



                  Number      Street                                           Explain what happened

                                                                                   Property was repossessed.
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                  City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                      Date           Value of the propert)




                  Creditor's Name



                  Number      Street
                                                                              Explain what happened

                                                                               U   Property was repossessed.
                                                                               U   Property was foreclosed.
                                                                              U    Property was garnished.
                  City                               State   ZIP Code
                                                                              U    Property was attached, seized, or levied.



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Debtor 1    b afeCeFirst Name     Middle Name             Last Name
                                                                                                          Case number yr-known)




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accypts or refuse to make a payment because you owed a debt?
     a      No
     U Yes. Fill in the details.

                                                                  Describe the action the creditor took                           Date action      Amount
                                                                                                                                  was taken
            Creditor's Name



            Number     Street




            City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     cred' ors, a court-appointed receiver, a custodian, or another official?

            No
     U Yes


 Part 5:           List Certain Gifts and Contributions


 13.With!f2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

            NO
     U Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600           Describe the gifts                                              Dates you gave      Value
             per person                                                                                                           the gifts




            Person to Whom You Gave the Gift




            Number     Street



            City                           State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600            Describe the gifts                                              Dates you gave     Value
            per person                                                                                                            the gifts




            Person to Whom You Gave the Gift




           • Number    Street



            City                           State   ZIP Code


            Person's relationship to you


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Debtor 1    Otwese 8rockti                                         "feilittet                                    Case number (if known)
                   First Name      Middle Name               Last Name




 14. Within 2      years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?


           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you           Value
            that total more than $600                                                                                                     contributed



           tif I nft,
           Charity' Name
                                  aka',                            tipht44)                14 5'6lAta                                                        $   ggra (3-/-


           Number      Street




           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?


      14
      1 2e..
          s. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                         loss               lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule AM: Property.


           100- &is wins                                                                                                                  IA•ga
       -elf 1;1044 eke tO
                                                                          r.)0N-e-
 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.


           Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or    Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number       Street




            City                         State    ZIP Code


            Email or webstte address

            Person Who Made the Payment, if Not You



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Debtor 1                                                                                            Case number (if known)




                                                           Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                             transfer was made    payment


           Person Who Was Paid



           Number    Street




           City                       State   ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     EI<Vo
     U Yes. Fill in the details.

                                                           Description and value of any property transferred                 Date payment or     Amount of payment
                                                                                                                             transfer was
                                                                                                                             made
            Person Who Was Paid



            Number    Street




            City                      State   ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do n nclude gifts and transfers that you have already listed on this statement.
           No
     U Yes. Fill in the details.
                                                           Description and value of property        Describe any property or payments received      Date transfer
                                                           transferred                              or debts paid in exchange                       was made

           Person Who Received Transfer



           Number    Street




           City                       State   ZIP Code


           Person's relationship to you



           Person Who Received Transfer


           Number    Street




           City                       State   ZIP Code

           Person's relationship to you


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Debtor 1       0„lictrekJ5 reL de4l
                   Ficst Name       Middle Name
                                                         6),(41414.4A-
                                                             Last Name
                                                                                                              Case number (if known)




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     11No
     Li Yes. Fill in the details.

                                                                    Description and value of the property transferred                                             Date transfer
                                                                                                                                                                  was made


           Name of trust




               List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.


     2)1'°1es. Fill in the details.
                                                                     Last 4 digits of account number    Type of account or             Date account was       Last balance before
                                                                                                        instrument                     closed, sold, moved,   closing or transfer
                                            •                                                                                          or transferred
        130In I          d'r      AMbittik
            Name of Financial Institution
                                                                                                       Cr Checking                         11 #10)4"

            Number       Street                                                                         dca—vings
                                                                                                        U Money market
                                                                                                        U Brokerage
            City                        State     ZIP Code
                                                                                                        U Other


       6 vilit-                                                      XXXX—                                  Ch king                    tmlIkeunt              $
            Name of Financial Institution
                                                                                                            Savings
            Number       Street                                                                         U Money market
                                                                                                        U Brokerage
                                                                                                        U Other
            City                        State     ZIP Code

 21. Do yo ow have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     se rities, cash, or other valuables?
        No
     U Yes. Fill in the details.
                                                                     Who else had access to it?                     Describe the contents                             Do you still
                                                                                                                                                                      have it?


           1   rviS.{             3'it piV                                                                                                                            CI No
            Name of Financial Institution                           Name                                                                                              U Yes


            Number       Street                                     Number   Street


                                                                    City       State     ZIP Code
            City                        State     ZIP Code



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Debtor 1 e i haille‘ 4"
                    Net Name
                                  13   1/kilt/A
                                   Middle Name
                                                             Fat-eni&vx.
                                                              Last Name
                                                                                                                      Case number (irbmwn)



 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


     )Yes.       Fill in the details.
                                                                     Who else has or had access to it?                      Describe the contents           Do you still
                                                                                                                                                            have it?


             Name of Storage Facility                                Name
                                                                                                                                                            El Yes

             Number      Street                                      Number    Street



                                                                     City State ZIP Code


             City                        State     ZIP Code



                     Identify Property You Hold or Control for Someone Else

  23. Do you ho d or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hp kIiin trust for someone.
          No
      U   Yes. Fill in the details.
                                                                    Where is the property?                                 Describe the property        Value


             Owner's Name


                                                                   Number     Street
             Number      Street




                                                                   City                          State     ZIP Code
             City                        State     ZIP Code


  Part 10:           Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

 o Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any qpvernmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?



      El Yes. Fill in the details.

                                                                    Governmental unit                          Environmental law, if you know it       Date of notice



          Name of site                                             Governmental unit


          Number       Street                                      Number     Street


                                                                   City                 State   ZIP Code



          City                          State     ZIP Code




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Debtor 1    bictrev,
                   First Name
                                            dtr
                                   Middle Name
                                                              FtfrehieGvt,
                                                            Last Name
                                                                                                                          Case number oknowro




 25. Have y u notified any governmental unit of any release of hazardous material?

           No
     U     Yes. Fill in the details.
                                                                      Governmental unit                               Environmental law, if you know it                   Date of notice



            Name of site                                          Governmental unit


            Number       Street                                   Number        Street



                                                                  City                     State    ZIP Code


            City                        State    ZIP Code


 26. Ha        you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
     U     Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                       Court or agency                                     Nature of the case
                                                                                                                                                                           case

           Case title
                                                                                                                                                                           El Pending
                                                                       Court Name

                                                                                                                                                                           U    On appeal
                                                                       Number     Street                                                                                   U    Concluded


           Case number                                                 City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U    A          proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LIP)
           U    A partner in a partnership
           U    An officer, director, or managing executive of a corporation

           U    An owner of at least 5% of the voting or equity securities of a corporation

     U     No. None of the above applies. Go to Part 12.
     U     Yes. Check all that apply above and fill in the details below for each business.
                                                                1...Describe the nature of the business                                  Employer Identification number
           Eic          aismess
            Business Name
                                                    104144                                                                               Do not include Social Security number or MN.


               to V51                   ctAFP/14th1                                                                                      EIN:               55-. )2/ 5-
            Number        Street
                                                                       Name of accountant or Rookkãper                                   Dates business existed
                      30 r/- 3/ (0
           bJ/4-k                  Gt 30)51(0 1                               tiki                                                       From               To
            City                        State    ZIP Code         I

                 yA/                                  t /C
                                                                  ._
                                                                        Describe the nature of the business                              Employer Identification number
                                                                                                                                         Do not include Social Security number or MN.
            Business Name


           3s-9q                                                        1(W-6.4-Raj-                                                     EIN:   'Lo A5-0 007
            Number        Street
                                                                       Name of accountant or bookkeeper                                  Dates business existed



            001Jfik- 6 2A-
            City                        State
                                                 3evi
                                                 ZIP Code                     1 lk
                                                                                                                                         From               To



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Debtor 1         b         arev.
                        First Name
                                        8r4 dee
                                       Middle Name
                                                                Fare-Witt44
                                                            Last Name
                                                                                                             Case number grkrwnwo




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
                 Business Name
                                                                                                                            EIN:

                 Number Street
                                                                    Name of accountant or bookkeeper                        Dates business existed



                                                                                                                            From                To
                 City                       State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     U          No
     U          Yes. Fill in the details below.

                                                                    Date issued




                 Name                                               MM / DD I YYYY


                 Number Street




                 City                       State    ZIP Code




 Part 12:               Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U. C. §§ 152, 1341, 15       d 3571.


                                     Aux_
                 Signature of Debtor 1                                               Signature of Debtor 2


                 Date                                                                Date

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           (l     Pki

      jt          Yes



      Did yøfi pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
         ,
                 No
      U          Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                     Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1              'latest              6radeA                                  Cren,111)
                      First Name                 Middle Name                        Last Name

Debtor 2
(Spouse, if filing)   First Name                 Middle Name                        Last Name


United States Bankruptcy Court for the: 110el1erel             District of

Case number
                                                                                                                                                   0   Check if this is an
                                                                                                                                                       amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do yi     u own or have any legal or equitable interest in any residence, building, land, or similar property?
    bit   No. Go to Part 2.
    LI    Yes. Where is the property?
                                                                         What is the property? Check all that apply.
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                             O     Single-family home                        the amount of any secured claims on Schedule D:
      1.1.                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                             O     Duplex or multi-unit building
              Street address, if available, or other description
                                                                             U Condominium or cooperative                    Current value of the      Current value of the
                                                                             O     Manufactured or mobile home               entire property?          portion you own?
                                                                             LI    Land
                                                                             LI    Investment property

              City                            State     ZIP Code
                                                                             LI    Timeshare                                 Describe the nature of your ownership
                                                                                                                             interest (such as fee simple, tenancy by
                                                                             LI    Other                                     the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                             LI Debtor 1 only
              County                                                              Debtor 2 only
                                                                             LI Debtor 1 and Debtor 2 only                   U Check if this is community property
                                                                                                                               (see instructions)
                                                                             U At least one of the debtors and another
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
    If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                        U         Single-family home                         the amount of any secured claims on Schedule a
      1.2.                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                        U         Duplex or multi-unit building
              Street address, if available, or other description
                                                                        U Condominium or cooperative                         Current value of the      Current value of the
                                                                        U         Manufactured or mobile home                entire property?          portion you own?
                                                                        U         Land
                                                                        U         Investment property
                                                                                                                             Describe the nature of your ownership
                                                                        U         Timeshare
              City                            State      ZIP Code                                                            interest (such as fee simple, tenancy by
                                                                        U         Other                                      the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one
                                                                        U Debtor 1 only

              County                                                    U Debtor 2 only
                                                                        U Debtor 1 and Debtor 2 only                            Check if this is community property
                                                                        U At least one of the debtors and another               (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


Official Form 106A/B                                                     Schedule AIB: Property                                                                page 1
                  Case 23-52395-pmb                       Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                        Desc
Debtor 1          ilarest
                  First Name
                                 6 tad etai
                                 Middle Name
                                                           Voluntary Petition Page 22Case
                                                        Last Name
                                                                                       ofnumber
                                                                                          69                      (if known)




                                                                    What is the property? Check all that apply.          Do not deduct secured claims or exemptions. Put
                                                                    U Single-family home                                 the amount of any secured claims on Schedule D:
    1.3.                                                                                                                 Creditors Who Have Claims Secured by Properly.
           Street address, if available, or other description       U Duplex or multi-unit building
                                                                    U Condominium or cooperative                         Current value of the     Current value of the
                                                                                                                         entire property?         portion you own?
                                                                    U Manufactured or mobile home
                                                                    U Land
                                                                    U Investment property
           City                            State     ZIP Code                                                            Describe the nature of your ownership
                                                                    U Timeshare
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    U Other                                              the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                         U Check if this is community property
                                                                                                                           (see instructions)
                                                                    U At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   Uo
   id Yes

   3.1.    Make:                    keret616                        Wh has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                         550                       to Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                        A015                        U Debtor 1 and Debtor 2 only                         Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           Approximate mileage: 0          " )0170                  U At least one of the debtors and another
           Other information:
                                                                                                                         $                         $
                                                                    U Check if this is community property (see
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                                                   13 Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                         Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
                                                                                                                         entire property?          portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                      instructions)




 Official Form 106A/B                                                Schedule AIB: Property                                                                page 2
                 Case 23-52395-pmb                 Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                        Desc
Debtor 1
                 Rrst Name       Middle Name
                                                 rcrantko
                                                    Voluntary Petition Page 23Case
                                                   Last Name
                                                                                of number
                                                                                    69 griarowo



   3,3.     Make:                                              Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
            Model:                                             U Debtor 1 only                                    Creditors Who Have Claims Secured by Properly.
                                                               U Debtor 2 only
            Year:                                                                                                 Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
            Approximate mileage:                               U At least one of the debtors and another
            Other information:
                                                               U Check if this is community property (see
                                                                 instructions)


            Make:                                              Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                  the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
            Model:
                                                               U Debtor 2 only
            Year:                                                                                                  Current value of the     Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                   entire property?         portion you own?
            Approximate mileage:                               U At least one of the debtors and another
            Other information:
                                                               U Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Ex      i ples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   tir  No
   U      Yes


            Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                   the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                     Creditors Who Have Claims Secured by Properly.
            Model:
                                                               U Debtor 2 only
            Year:
                                                               U Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
            Other information:                                 U At least one of the debtors and another           entire property?          portion you own?


                                                               U Check if this is community property (see
                                                                 instructions)



   If you own or have more than one, list here:

            Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                   the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                     Creditors Who Have Claims Secured by Properly.
            Model:
                                                               U Debtor 2 only
            Year:                                                                                                  Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                   entire property?          portion you own?
            Other information:                                 U At least one of the debtors and another


                                                               U Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here




 Official Form 106A/B                                           Schedule NB: Property                                                                page 3
             Case 23-52395-pmb Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                                    Desc
Debtor 1   (1)letweck (rctd.to rWeivta44
               First Name
                                 Voluntary Petition Page 24Case
                                Middle Name      Last Name
                                                             of number
                                                                 69 (ifk..)


Part 3:    Describe Your Personal and Household Items

                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                           portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware

       Yes. Describe                                                                                                                         . Gr•
                                (41.                 tuctsbeA-        4'1(iv         (14.0117/101 gerd24.4         41444i:11
                                                                                                                           c $    ID
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games


   26  Yes. Describe
                                    rictlsorcuA 4-u-s
                                                                                                                              $ 3rwo.
                            L
8. Collectibles of value                                                                            flt‘ 'vS
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   ci‘o
   U Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   UNlo
   U Yes. Describe

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     'No
   U Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    U No
    14/Yes. Describe                                                                                                          $ 6W, di)
                                                                            hAreis
12. Jewelry
    Example: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
     No
   U Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   r2<lo
   U Yes. Describe

14. Any
    i   ther personal and household items you did not already list, including any health aids you did not list

     No
   U Yes. Give specific     {
     information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here
                                                                                                                             $

 Official Form 106A/B                                        Schedule A/B: Property                                                      page 4
               Case 23-52395-pmb                    Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                    Desc
Debtor 1    0)114 rM
                RIM Name
                                  4(1
                             Middle Name
                                                     Voluntary
                                                      how Petition Page 25Case
                                                  Last Name
                                                                              of number
                                                                                  69 (irknown)                                                                    •




Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   Et<
   U Yes                                                                                                    Cash:



17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   la<lo
   U Yes                                                      Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      12
       t Yes                 Institution or issuer name:
  )
                                                                                                                                        sot,
                              —re)         AwztLoü                     5410 4"




19. Non-pub 'cly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LJ,L, partnership, and joint venture
       ,
       No                   Name of entity:                                                        % of ownership:
      U Yes. Give specific                                                                                   0%
        information about
                                                                                                             0%
        them




 Official Form 106A/B                                         Schedule AIB: Property                                                             page 5
                  Case 23-52395-pmb                        Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                           Desc
Debtor 1                                                    Voluntary Petition Page 26Case
                                                                                       of number
                                                                                           69 (if known)                                            •
                  Fist Name     Middle Name             Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-n otiable instruments are those you cannot transfer to someone by signing or delivering them.

  •CJ No
   U Yes. Give specific          Issuer name:
     information about
     them




21. Retirement or pension accounts
    Exam s: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
   U Yes. List each
     account separately. Type of account:                  Institution name:

                                 401(k) or similar plan:

                                 Pension plan:

                                 IRA:

                                 Retirement account:

                                 Keogh:

                                 Additional account:

                                 Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   ▪   Ni3, „
   IWies                                               Institution name or individual:
                                 Electric:

                                 Gas:
                                 Heating oil:

                                 Security deposit on rental unit:   YOrr0 01)                                                   $    41/1112
                                 Prepaid rent:

                                 Telephone:

                                 Water:

                                 Rented furniture:

                                 Other:



23. Ann         s (A contract for a periodic payment of money to you, either for life or for a number of years)

       No
   U Yes                          Issuer name and description:




 Official Form 106A/B                                               Schedule A/B: Property                                                 page 6
              Case 23-52395-pmb                    Doc 1        Filed 03/13/23 Entered 03/13/23 13:09:10                                  Desc
 Debtor 1   jhare6t &Aden roreryail
                            Voluntary Petition                               Page 27Case
                                                                                     of number
                                                                                         69 (if known)
               Frst Name     Middle Name         Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U. .C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
   U Yes
                                     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exer "sable for your benefit

       No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
  / Ex pcpies: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
   U Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses


   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

26. Tax refunds owed to you
 /fer No
   U Yes. Give specific information
                                                                                                                Federal:
          about them, including whether
          you already filed the returns                                                                         State:
          and the tax years.
                                                                                                                Local:


29. Family support
    Exa     s: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
   U Yes. Give specific information
                                                                                                               Alimony:
                                                                                                               Maintenance:
                                                                                                               Support:
                                                                                                               Divorce settlement:
                                                                                                               Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else


   U Yes. Give specific information




Official Form 106A/B                                         Schedule NB: Property                                                                 page 7
                Case 23-52395-pmb                      Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                                Desc
Debtor 1
                First Name
                                  e(ciden
                                Middle Name
                                                        F;rewail
                                                        Voluntary Petition Page 28Case
                                                     Last Name
                                                                                   of number
                                                                                       69 or k...)


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renter's insurance
   aleNo
   U Yes. Name the insurance company            Company name:                                              Beneficiary:                              Surrender or refund value:
          of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
  dff No
   U Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

   U Yes. Describe each claim


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
  0 12'.go
   U Yes. Describe each claim




35. Any financial assets you did not already list

   -Er.No
   U Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here




Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.00 you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.
   U Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
        No
   U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   %No
   U Yes. Describe




 Official Form 106A/B                                            Schedule NB: Property                                                                           page 8
               Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                          Desc
 Debtor 1      •11‘f(e59
               First Name
                                  6rciden             Voluntary Petition Page 29Case
                                                                                 of number
                                                                                     69 (Ir known)
                             Middle Name          Lest Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

  edrslo'
   U Yes. Describe



41. lnvptOry
       No
     U Yes. Describe


42. Interests in partnerships or joint ventures


   U Yes. Describe           Name of entity:                                                             % of ownership:




43. C9temer lists, mailing lists, or other compilations
       No
    Li Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            U No
            U Yes. Describe



44.Anypl ness-related property you did not already list
      No
   U Yes. Give specific
      information




45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here



Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        Go to Part 7.
   U Yes. Go to line 47.
                                                                                                                           Current value of the
                                                                                                                           portion you own?
                                                                                                                           Do not deduct secured claims
                                                                                                                           or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

   eNo
   U Yes




Official Form 106/VB                                          Schedule NB: Property                                                     page 9
                 Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                           Desc
Debtor 1          Aq r e C3P      k l i t7Qae./ .7      Voluntary Petition Page 30Case
                                                                                   of number
                                                                                       69 ("mown)
                 First Name    Middle Name           Last Name




48.Crops—either growing or harvested

  j/ No
   El Yes. Give specific
      information.
                                                                                                                              $
49.Far9 and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
      121 Yes

                                                                                                                             s
50.Farm and fishing supplies, chemicals, and feed
        No
      U Yes



51. Any farm- and commercial fishing-related property you did not already list

  j     No
      U Yes. Give specific r
        information
                                                                                                                              $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here



Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

      U No
      U Yes. Give specific
        information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                   4



Part 8:         List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                         $

56.Part 2: Total vehicles, line 5                                             $   /0,octi
57.Part 3: Total personal and household items, line 15

58.Part 4: Total financial assets, line 36

59.Part 5: Total business-related property, line 45

60.Part 6: Total farm- and fishing-related property, line 52                  $    --C;"
61.Part 7: Total other property not listed, line 54


62.Total personal property. Add lines 56 through 61.                          $   3 7/ 300   Copy personal property total —} +$   37, 3 0c)

63. Total of all property on Schedule NB. Add line 55 + line 62                                                             $     37, 3 oo
Official Form 106A/B                                             Schedule A/B: Property                                                page 10
                   Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                      Desc
                                                          Voluntary Petition Page 31 of 69
 Fill in this information to identify your case:


  Debtor 1         ilox est-           I3rz4r                        &slew
                     First Name                Middle Name              Last Name

  Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


  United States Bankruptcy Court for the: 1.614401 District of       6Wil9

 Case number                                                                                                                                U Check if this is an
  (If known)
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Properly (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      U You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
       Schedule NB that lists this property                  portion you own
                                                             Copy the value from     Check only one box for each exemption.
                                                             Schedule NB

      Brief
      description:                                                                    Us
                                                                                     U 100% of fair market value, up to
      Line from
      Schedule AIB:                                                                    any applicable statutory limit


      Brief
      description:                                           5                       Us
                                                                                     U 100% of fair market value, up to
      Line from
      Schedule NB:                                                                     any applicable statutory limit

      Brief
      description:
                                                                                     U 100% of fair market value, up to
      Line from
      Schedule NB*                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
      (Su        ct to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

             No
      U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            U      No
             U     Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                             page 1 of   02
             Case 23-52395-pmb                 Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                     Desc
Debtor 1    barrsz
              First Name
                           6rade0
                            Middle Name
                                                Voluntary Petition Page 32 of 69
                                             cxemitel
                                               Last Name
                                                                                             Case number (if known)




  Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                     page   2   of
                    Case 23-52395-pmb                        Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                Desc
                                                              Voluntary Petition Page 33 of 69
 Fill in this information to identify your case:


 Debtor 1
                    First Name
                                          6radeo
                                               Middle Name
                                                                         Weopteto
                                                                                Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name                      Last Name


 United States Bankruptcy Court for the: n° 1 4 44'n District of

 Case number
 (If known)                                                                                                                               Li Check if this is an
                                                                                                                                             amended filing


'Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


3.. Do any creditors have claims secured by your property?
      U )(o. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
  ,er Yes. Fill in all of the information below.

Part 1:        List All Secured Claims

                                                                                                                        Column A   Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim            Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the         that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.      claim                 If any


                                                     hillttiescribe the property that secures the claim:
      Pub.3034 405--
      Number           Street
                                                             Veillicit           64-59) Ms—
                                                         As of the date you file, the claim is: Check all that apply.
                                                             0
   bitidek 1 & PA
                                                                 Contingent
                                           143/ / U Unliquidated
      City                        State   ZIP Code
                                                         NI°Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
 ,.Debtor 1 only                                         lar An agreement you made (such as mortgage or secured
  O Debtor 2 only                                            car loan)
  O Debtor 1 and Debtor 2 only                           LI Statutory lien (such as tax lien, mechanic's lien)
  CI At least one of the debtors and another             O Judgment lien from a lawsuit
                                                         O Other (including a right to offset)
  O     Check if this claim relates to a
        community debt                                                                                           /
  Date debt was incurred                                 Last 4 digits of account number / =c              0
2.2
                                                         Describe the property that secures the claim:
      Creditors Name


      Number           Street

                                                         As of the date you file, the claim is: Check all that apply.
                                                         O Contingent
                                                         •       Unliquidated
      City                        State   ZIP Code
                                                         O Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
  CI Debtor 1 only                                       O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                          car loan)
  O Debtor 1 and Debtor 2 only                           O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another              O Judgment lien from a lawsuit
                                                         CI Other (including a right to offset)
  O     Check if this claim relates to a
        community debt
  Date debt was incurred                                 Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:


Official Form 1060                              Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 5
                  Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                               Desc
                                                         Voluntary Petition Page 34 of 69
 Debtor].                   6,4011,4
                   lentnz Middle                      Aires-tam_                                        Case number     It Mown)
                  First Name     Name                 Last Name


                                                                                                                     Column A               Column B              Column C
               Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                      Do not deduct the       that supports this   portion
               by 2.4, and so forth.                                                                                 value of collateral.    claim                If any

                                                      Describe the property that secures the claim:
    Creditors Name


    Number           Street


                                                      As of the date you file, the claim is: Check all that apply.
                                                      U Contingent
     City                        State    ZIP Code    • Unliquidated
                                                      U Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
  U Debtor 1 only                                     U An agreement you made (such as mortgage or secured
  U Debtor 2 only                                       car loan)
  U Debtor 1 and Debtor 2 only                        U Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another           U Judgment lien from a lawsuit
                                                      U Other (including a right to offset)
        Check if this claim relates to a
        community debt

  Date debt was incurred                              Last 4 digits of account number


[7]  Creditors Name
                                                      Describe the property that secures the claim:


     Number           Street

                                                      As of the date you file, the claim is: Check all that apply.
                                                      U Contingent
                                                      • Unliquidated
     City                         State   ZIP Code
                                                      U Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
   U    Debtor 1 only                                 U An agreement you made (such as mortgage or secured
   U    Debtor 2 only                                   car loan)
   U    Debtor 1 and Debtor 2 only                    U Statutory lien (such as tax lien, mechanic's lien)
   U    At least one of the debtors and another       U Judgment Hen from a lawsuit
                                                      U Other (including a right to offset)
        Check if this claim relates to a
        community debt

   Date debt was incurred                             Last 4 digits of account number

                                                      Describe the property that secures the claim:
     Creditor's Name


     Number            Street


                                                      As of the date you file, the claim is: Check all that apply.
                                                      U Contingent
      City                        Stale    ZIP Code   • Unliquidated
                                                      U Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   U    Debtor 1 only                                 U An agreement you made (such as mortgage or secured
   U    Debtor 2 only                                   car loan)
   U    Debtor 1 and Debtor 2 only                    U Statutory lien (such as tax lien, mechanic's lien)
   U    At least one of the debtors and another       U Judgment lien from a lawsuit
                                                      U Other (including a right to offset)
   ta   Check if this claim relates to a
        community debt
   Date debt was incurred                             Last 4 digits of account number

             Add the dollar value of your entries in Column A on this page. Write that number here:
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:

 Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    pages"1—of3
                    Case 23-52395-pmb                   Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                  Desc
                                                         Voluntary Petition Page 35 of 69
Debtor 1          0,11adeePe 6racIen tCoce~
                    First Name      Middle Name       Last Name
                                                                                                Case number (if known)


  Part 2:           List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1., list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number            Street




       City                                              State        ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number             Street




       City                                              State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number             Street




       City                                               State        ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number             Street




       City                                               State        ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


       Number             Street




       City                                               State        ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?

       Name                                                                                Last 4 digits of account number


           Number          Street




           City                                           State        ZIP Code



 Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                        page3       0f3
                   Case 23-52395-pmb                            Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                                 Desc
                                                          case:
                                                                 Voluntary Petition Page 36 of 69
 Fill in this information to identify your


 Debtor 1          harese
                     First Name
                                                   tade.r
                                                        Middle Name
                                                                               Foremket Last Name

 Debtor 2
 (Spouse, if filing) First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the: af,d3ed1ll                   District of                   Li

                                                                                                                                                              D Check if this is an
 Case number
  (If known)
                                                                                                                                                                 amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:          List All of Your PRIORITY Unsecured Claims

    Do any creditors have priority unsecured claims against you?
              o. Go to Part 2.
         Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
   each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
   nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                            Total claim   Priority       Nonpriority
                                                                                                                                                          amount         amount

               c•tievi e      i3 rd                                          Last 4 digits of account number
      Priority Creditor's Nwne     V

        '13/c/
      Number
                          buntic4/060
                        Street    1/4../
                                                                             When was the debt incurred?           ' 812"-                     Olet)


                                                                             As of the date you file, the claim is: Check all that apply.
          co /-)I-Di
       City
                                                    ri1e)41
                                                State    ZIP Code
                                                                             U,Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                      U Disputed
        Debtor 1 only
       O Debtor 2 only                                                       Type f PRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 Domestic support obligations
              At least one of the debtors and another
                                                                             U Taxes and certain other debts you owe the government
       U Check if this claim is for a community debt                         U Claims for death or personal injury while you were
                                                                               intoxicated
       Is the claim subject to offset?
       U No                                                                   U Other. Specify
       U Yes
    t       cge                                                              Last 4 digits of account number                                $ iS   Ca)    $
                    q 's Name
        riority Credit()

    V/51 ka2aly IV
       Number            Street
                                                                             When was the debt incurred?                      7%-•'

                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             • ) 4bntingent
                                           TX
                                                State    ZIP Code                   Unliquidated


      e         incurred the debt? Check one.
              Debtor 1 only
       LI Debtor 2 only
                                                                              U Disputed

                                                                             Tyv..of PRIORITY unsecured claim:
                                                                              her Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                                              U Taxes and certain other debts you owe the government
       U At least one of the debtors and another
                                                                              U Claims for death or personal injury while you were
       U Check if this claim is for a community debt                            intoxicated
       Is 1 e claim subject to offset?                                        U Other. Specify
              No
       LI Yes


Official Form 106E/F                                              Schedule EIF: Creditors Who Have Unsecured Claims                                                page 1 of
Debtor 1        bcirtec,c
                      Case 23-52395-pmb
                      First Name
                                      6racito
                                    Middle Name
                                                                    Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10
                                                                     Mien/au/a,
                                                                       Voluntary Petition Page 37Case
                                                                 Last Name
                                                                                                   ofnumber
                                                                                                      69 (ifknown)
                                                                                                                                                          Desc

Part 1:              Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                    Total claim   Priority   Nonpriority
                                                                                                                                                        amount     amount



     Parittyredi ors Name
                                     re 55                                 Last 4 digits of account number                                - tja


     Number                Street
                                    O'                                     When was the debt incurred? (A
                                                                                                        LiLI /AV 1 - 1

                                                                           As of the date you file, the claim is: Check all that apply.


      City                                  State
                                                    ,376/5
                                                      ZIP Code
                                                                           U Contingent
                                                                           LI   Uji
                                                                                 iiquidated
                                                                           INI
                                                                             I 15isputed
      Who incurred the debt? Check one.
    "Er Debtor 1 only                                                      Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                           U Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                           O    Taxes and certain other debts you owe the government
      Li       At least one of the debtors and another
                                                                           O    Claims for death or personal injury while you were
                                                                                intoxicated
      U Check if this claim is for a community debt
                                                                           U Other. Specify

      Is th          laim subject to offset?
               No
      CI       Yes


                                                                           Last 4 digits of account number
      Priority Creditors Nante

          (IF? /if4S eet5 nikmrve
      Number
                                                                           When was the debt incurred? 03/g                9 t/


                      -
                                                                           As of the date you file, the claim is: Check all that apply.

                                                                           Li   Contingent
                                                                           Li   Unliquidated
                                                                                Disputed
      Who incurred the debt? Check one.
                                                                           Type of PRIORITY unsecured claim:
      tCI      Debtor 1 only
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                           U Domestic support obligations
                                                                           Li   Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                           Li   Claims for death or personal injury while you were
                                                                                intoxicated
      O Check if this claim is for a community debt
                                                                           Li   Other. Specify

                e claim subject to offset?
               No
      U Yes
         —

      1/4r0/1)                                                             Last 4 digits of account number
      Priority Crediters Namer              ,
                                                            it                                                  05 Ix0/49
      (pSD CA t o r/7                                   g                  When was the debt incurred?
      Number S7et
                                                                           As of the date you file, the claim is: Check all that apply.

                                                                           U Contingent
         1,41/               ( 71110,-
                                     ael0                       6/ 7q01(
      City                                      State        ZIP Code      •    Unliquidated
                                                                           p•   Disputed
      Who incurred the debt? Check one.
       a iDebtor 1 only                                                    Type of PRIORITY unsecured claim:
       O Debtor 2 only
                                                                           Li   Domestic support obligations
          Li   Debtor 1 and Debtor 2 only
                                                                           Li   Taxes and certain other debts you owe the government
       U At least one of the debtors and another
                                                                           Li   Claims for death or personal injury while you were
                                                                                intoxicated
       U Check if this claim is for a community debt
                                                                           LI   Other. Specify

      Is t           claim subject to offset?
      ,          o
          Li   Yes


Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                               pag
                Case 23-52395-pmb                                           Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                      Desc
Debtor 1     0,14olitst 6(adw
                     First Name              Middle Name
                                                                            renlAtei
                                                                         Last Name
                                                                                                           ofnumber
                                                                               Voluntary Petition Page 38Case 69 (if known)
                List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
    CI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.
                                                                                                                                                                        Total claim
                                                                   , _

El             bill) eA(
      Nonpriority Creditors N           e
                                                       Ot)-t-sa)/c(,05                           Last 4 digits of account number          _
                                                                                                                                                                       s,g27-ek2
                                                                                                 When was the debt incurred?
       WO 6to 3q1/1
       umber               Street


      City
             1/14-0Y1                            UXi               State
                                                                             F13 6 7
                                                                                 ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                                 U Contingent
      Who incurred the debt? Check one.                                                          • Unliquidated
         ebtor 1 only                                                                              Disputed
      U Debtor 2 only
      U Debtor 1 and Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U At least one of the debtors and another                                                  U Student loans
                                                                                                 U Obligations arising out of a separation agreement or divorce
      El Check if this claim is for a community debt
                                                                                                   that you did not report as priority claims
      19ke claim subject to offset?                                                              U Debts to pension or profit-sharing plans, and other similar debts
      U No                                                                                       U Other. Specify
      U Yes

                      vvrie                                                                                                um
                                                                                                 Last 4 digits of account n— —ber—         _
      Nonpriority Creditors Na                                                                   When was the debt incurred?


             c7
              eri        5Street         I                 5u174

       2
      City
           ;l iovy                            /Is
                                                                    State
                                                                         5-Tozi   ZI Code
                                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                                  U Contingent
      Who incurred the debt? Check one.                                                           • Unliquidated

     ( 711Debtor 1 only
                                                                                                 pt
                                                                                                .e
                                                                                                    Disputed

        U Debtor 2 only
                                                                                                 Type of NONPRIORITY unsecured claim:
        U Debtor 1 and Debtor 2 only
        U At least one of the debtors and another                                                U Student loans
                                                                                                 U Obligations arising out of a separation agreement or divorce
      U Check if this claim is for a community debt                                                that you did not report as priority claims
                                                                                                 U Debts to pension or profit-sharing plans, and other similar debts
      Is t          claim subject to offset?
                                                                                                 LI Other. Specify
         No
       U Yes

                          614                      vedi                                 Lc,      Last 4 digits of account number
      No      riority C editor'         me
                                                                                                 When was the debt incurred?
                                    Ox
                                  eet
                                               3W            7


                                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                    State         ZIP Code
                                                                                                 U Contingent
       Who incurred the debt? Check one.
                                                                                                 •  Unliquidated
    1/10 Debtor 1 only                                                                           Er Disputed
       U Debtor 2 only
       U Debtor 1 and Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       U At least one of the debtors and another
                                                                                                  U Student loans
       U Check if this claim is for a community debt                                              U Obligations arising out of a separation agreement or divorce
                                                                                                    that you did not report as priority claims
       Is te claim subject to offset?
                                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
         No                                                                                       U Other. Specify
       U Yes



Official Form 106E/F                                                        Schedule OF: Creditors Who Have Unsecured Claims                                                  pag
Debtor 1          a       l./rev 6ra.
                      Case 23-52395-pmb
                      First Name             Middle Name
                                                                               , 03/13/23 Enterednumber
                                                                      Doc 1 Filed
                                                                      meenat-e
                                                                       Voluntary Petition Page 39Case
                                                                    Last Name
                                                                                                       03/13/23 13:09:10
                                                                                                   of 69                            (if known)
                                                                                                                                                                 Desc


Part 2:           Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                       Total claim




                          e 11/16f I o                                                            Last 4 digits of account number                                            s   q721
      NonPrioft Creditors Name

      Po ew x 101 /)                                                                              When was the debt incurred?



      pe(r vissue71 itv
      C                                                        State
                                                                          g riile(P
                                                                             ZIP
                                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                                  U Contingent
                                                                                                  •         Unliquidated
      Who incurred the debt? Check one.                                                          „iit-       Disputed
     'Debtor 1 only
      U Debtor 2 only                                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                                U Student loans
      U At least one of the debtors and another                                                   ▪ Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                                  U Debts to pension or profit-sharing plans, and other similar debts
      Isrlaim                   subject to offset?                                                U Other. Specify
      c No
      U Yes




                                                                                                  Last 4 digits of account number
                           re    or's Name                    (-)               A                  When was the debt incurred?
                                XMIA,11(46             01-44-
                                                                                                   As of the date you file, the claim is: Check all that apply.

      City
                                6,e;                ' Y
                                                    M       /17q(7
                                                               State            ZIP Code           U Contingent
                                                                                                      •      Unliquidated
      Who incurred the debt? Check one.                                                          .;eDisputed


     g          6ebtor 1 only
                Debtor 2 only
      U Debtor 1 and Debtor 2 only
                                                                                                   Type of NONPRIORITY unsecured claim:
                                                                                                      U Student loans
      U At least one of the debtors and another                                                       U Obligations arising out of a separation agreement or divorce that
                                                                                                        you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                                      U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                 U Other. Specify
     Atha
         U Yes



                                                                                                      Last 4 digits of account number
      5e,             r           6V0410              C./ /
                          Creditor's
                                                                                                      When was the debt incurred?
         Trg°0
         NR be/;11(16 Sre.23
         City                                                   State
                                                                                Uci-ci•die /OY        As of the date you file, the claim is: Check all that apply.

                                                                                                      U Contingent
                                                                                                      •      Unliquidated
         Who incurred the debt? Check one.                                                            9t6isputed
                Debtor 1 only                                                                     ,
     ,
         U Debtor 2 only                                                                              Type of NONPRIORITY unsecured claim:
         U Debtor 1 and Debtor 2 only                                                                 U Student loans
         U At least one of the debtors and another                                                    CI Obligations arising out of a separation agreement or divorce that
                                                                                                         you did not report as priority claims
         •      Check if this claim is for a community debt
                                                                                                      U Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                                  U Other. Specify
      od No
         U Yes




Official Form 106E/F                                                    Schedule EIF: Creditors Who Have Unsecured Claims                                                        page # of 4°
                 Case 23-52395-pmb                          Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                Desc
Debtor 1
                 First Name      Middle Name
                                                               Voluntary Petition Page 40Case
                                                         Last Name
                                                                                              69 (if known)
                                                                                           ofnumber

Part 3:        List Others to Be Notified About a Debt That You Already Listed


5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       I/M &nil- /at-6
      Name
                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?


              6 11            Pa4,50w                                      Line       of (Check one): la Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                                   art 2: Creditors with Nonpriority Unsecured Claims


                                               C74--          601 0        Last 4 digits of account number          _

                                                State
                                                             3ZIP Code
      City

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number —         —      —   —
      City                                       State        ZIP Code
                                                                                                           —,

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                       State        ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number            Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                       State         ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number            Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number —           —   —   —
       City_                                     State         ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                            Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number —           —   —   —
                                           _     State         ZIP Code                                ,



                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number           Street
                                                                                                           U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims


                                                               ZIP Code
                                                                            Last 4 digits of account number
       City                                       State



Official Form 106EJF                                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page5 of (61
                Case 23-52395-pmb                    Doc     1 Filed 03/13/23 Entered 03/13/23 13:09:10                       Desc
 Debtor 1         katav-
                First Name
                                         den
                               Middle Name
                                                        )01e,44{114/1-
                                                         Voluntary
                                                   Last Name
                                                                                         ofnumber
                                                                       Petition Page 41Case 69          (if known)
                                                                                                                                                           •

 Part 4:    Add the Amounts for Each Type of Unsecured Claim



I 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




                                                                                          Total claim


                  6a. Domestic support obligations                                6a.
 Total claims
 from Part 1
                  6b. Taxes and certain other debts you owe the
                      government                                                  6b.

                  6c. Claims for death or personal injury while you were
                      intoxicated                                                 6c.

                  6d. Other. Add all other priority unsecured claims.
                      Write that amount here.                                     6d.   4. $




                  6e. Total. Add lines 6a through 6d.                             6e.




                                                                                          Total claim


                  6f. Student loans                                               61.
  Total claims
  from Part 2
                  6g. Obligations arising out of a separation agreement
                      or divorce that you did not report as priority
                      claims                                                      6g.

                  6h. Debts to pension or profit-sharing plans, and other
                      similar debts                                               6h.


                  6i. Other. Add all other nonpriority unsecured claims.
                      Write that amount here.                                     6i.   + $



                   6j. Total. Add lines 6f through 61.                            6j.




  Official Form 106E/F                                   Schedule EIF: Creditors Who Have Unsecured Claims                               page 4! of   (0
                   Case 23-52395-pmb                         Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                  Desc
                                                              Voluntary Petition Page 42 of 69
 Fill in this information to identify your case:


 Debtor               h4(esz-
                      First Name
                                                6,4611,A__
                                                   Middle Name                 Last Name

 Debtor 2
 (Spouse If filing)   First Name                   Middle Name

                                      fi ethV IA
 United States Bankruptcy Court for th..                         District Of

 Case number
 (If known)                                                                                                                              U Check if this is an
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 1. Do you have any executory contracts or unexpired leases?
    U No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                                  State what the contract or lease is for


                                                       0/114.444 51144tock
2.1      Pat                             pt4
                                                                                                   Rehl- roK                 goyim_
       Name
       tic a) j vi leAnnAiLevu4 P16.,71                                                    Ilan
        Numbqr       Street
          p I (4,t.‘,0          17c 09 5
       City                                    State      ZIP Code

2.2i
               t
       "lec            60)(    lingo                                                               eellfhevq. All
       Numbpri          Street

        ity
                bt)            eq tre,    n    State      ZIP Code
                                                                   Ili-        3S0
2.3
            4,
          (-1,stif eirta- A-6te tow,
       NamN•
                               r                                                                                        irqSA-
       MCI g                  et          , P4                   160 1
       City                                    State      ZIP Code

 .41     me= &rim- kke„
       Nan§orl
        um4r
                              Pm/ 5oyis
                      I _Street
                                                   a1a9t                                          CONInleUial
       City                                    State
                                                             `,7)A16i6
                                                          ZIP Code

2.51
       Name

       Number            Street

       City                                    State      ZIP Code


Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                    page 1 of   A
                     Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                     Desc
                                                            Voluntary Petition Page 43 of 69
Debtor 1         0 , kg re St
                    First Name
                                    "
                                 Middle Name
                                            6444    .4       i ~
                                                         Last NOM
                                                                                             Case number (iralown)



                  Additional Page if You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                       What the contract or lease is for


[2-.2
         Name


         Number        Street


         City                             State      ZIP Code




         Name


         Number        Street


         City                             State      ZIP Code


 2._

         Name


         Number        Street


         City                             State      ZIP Code




         Name


         Number        Street


         City                              State     ZIP Code


 2._

         Name


         Number        Street


         City                              State         ZIP Code




         Name


          Number       Street


          City                             State         ZIP Code


 2._

          Name


          Number       Street


          City                             State         ZIP Code


  2. 1
    7
          Name


          Number        Street


          City                             State         ZIP Code



Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                         pageA of   A
                  Case 23-52395-pmb                           Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                       Desc
                                                               Voluntary Petition Page 44 of 69
 Fill in this information to identify your case:


 Debtor 1            kvre sc.                  to Ate
                    First Name                      Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: (104144411 District of                0 ,61 1C1

 Case number
 (If known)
                                                                                                                                                 U Check if this is an
                                                                                                                                                   amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do yo have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            Go to line 3.
       U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            U No
            U Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.


                  Name of your spouse, former spouse, or legal equivalent



                  Number             Street



                  City                                            State                     ZIP Code


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 10609, or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                 Check all schedules that apply:
 3.1
                                                                                                                  O Schedule D, line
          Name
                                                                                                                  0 Schedule E/F, line
          Number           Street                                                                                 U Schedule G, line
          City                                                       State                    ZIP Code

 3.2
                                                                                                                  0 Schedule D, line
          Name
                                                                                                                      Schedule E/F, line
          Number            Street                                                                                LI Schedule G, line

          City                                                       State                    ZIP Code

 3.3
                                                                                                                      Schedule D, tine
          Name
                                                                                                                      Schedule E/F, line
          Number            Street                                                                                O Schedule G, line
          City                                                        State                   ZIP Code



Official Form 106H                                                            Schedule H: Your Codebtors                                                page l ot    A
                 Case 23-52395-pmb               Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                   Desc
 Debtor 1   0-/PW?“
                 First Name
                                 6 rzfelei-)
                                 Middle Name
                                                  Voluntary Petition Page 45 of 69
                                               Last Name
                                                                                          Case number orknowro



                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
 3._

                                                                                                10 Schedule D, line
        Name
                                                                                                 La   Schedule EJF, line
        Number         Street                                                                    U Schedule G, line


        City                                        State                    ZIP Code

 3._
                                                                                                 O Schedule D, line
        Name
                                                                                                 O Schedule E/F, line
        Number         Street                                                                    U Schedule G, line


        City                                        State                    ZIP Code

 3._
        Name
                                                                                                 CI   Schedule D, line
                                                                                                 O Schedule E/F, line
        Number          Street                                                                   U Schedule G, line


        City                                        State                    ZIP Code

 3._
                                                                                                 El Schedule D, line
        Name
                                                                                                 O Schedule E/F, line
        Number          Street                                                                   U Schedule G, line


        City                                        State                    ZIP Code


                                                                                                 O Schedule D, line
        Name
                                                                                                 O Schedule E/F, line
        Number          Street                                                                   U Schedule G, line


        City                                        State                    ZIP Code

 3._
                                                                                                 O Schedule D, line
        Name
                                                                                                 U Schedule E/F, line
        Number          Street                                                                   O Schedule G, line


        City                                         State                   ZIP Code


                                                                                                 U Schedule D, line
        Name
                                                                                                 O Schedule E/F, line
        Number          Street                                                                   U Schedule G, line


        City                                         State                   ZIP Code


                                                                                                 O Schedule D, line
        Name
                                                                                                 U Schedule E/F, line
        Number          Street                                                                   O Schedule G, line


                                                     State   _               ZIP Code




Official Form 106H                                           Schedule H: Your Codebtors                                                  a ofiA
                                                                                                                                    page z
                   Case 23-52395-pmb                  Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                   Desc
                                                       Voluntary Petition Page 46 of 69
 Fill in this information to identify your case:


 Debtor 1              Iiox est
                       First Name
                                     elmoterMiddle Name
                                                                    401.-niA4
                                                                      Last Name

 Debtor 2
 (Spouse, if filing)   First Name           Middle Name               Last Name


 United States Bankruptcy Court for the: ( 614.14A.V1 District of

 Case number                                                                                           Check if this is:
 (If known)
                                                                                                       U An amended filing
                                                                                                       U A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
Official Form 1061                                                                                           MM / DD/ YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                             Debtor 1                                  Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional       Employment status              Lir6r3loyed                                    U Employed
      employers.                                                            Not employed                               U Not employed
      Include part-time, seasonal, or
      self-employed work.
                                         Occupation
      Occupation may include student
      or homemaker, if it applies.
                                         Employer's name

                                         Employer's address
                                                                        Number Street                                Number   Street




                                                                         City           State     ZIP Code           City                State   ZIP Code

                                         How long employed there?


 Part 2:               Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.         2.

 3. Estimate and list monthly overtime pay.                                                3.   + $


 4.    Calculate gross income. Add line 2+ line 3.                                         4.



Official Form 1061                                                  Schedule I: Your Income                                                      page 1
                  Case 23-52395-pmb                 Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                    Desc
                                                     Voluntary Petition Page 47 of 69
Debtor 1     e    inwese
                  IRrs Name
                                &caul
                               Middle Name
                                                  4 XX-XXXXXXX- `-
                                                  Lest Name
                                                                                                   Case number


                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                   non-filina spouse

       Copy line 4 here                                                             4   4.    $

 5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                               5a.   $                       $
        5b. Mandatory contributions for retirement plans                                5b.   $                       $
        5c. Voluntary contributions for retirement plans                                5c.   $                       $
        5d. Required repayments of retirement fund loans                                5d.   $                       $
        5e. Insurance                                                                   5e.   $                       $
        5f. Domestic support obligations                                                5f.   $                       $
        5g. Union dues                                                                  5g.   $                       $
        5h. Other deductions. Specify:                                                  5h. -1-$                  -I- $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.        6.    $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.    $

 8. List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                         8a.
        8b. Interest and dividends                                                      8b.   $
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                        8c.
       8d. Unemployment compensation                                                    8d.   $
        8e. Social Security                                                             8e.   $
        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                   81.    $

        8g. Pension or retirement income                                                8g.   $
        8h. Other monthly income. Specify:                                              8h. -1-$                      $

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + 8h.              9.

10. Calculate monthly income. Add line 7+ line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.          10.

I n.   State all other regular contributions to the expenses that you list in Schedule J
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                      11.   $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies               12.
                                                                                                                                           Combined
                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
        CI No.
        (21 Yes. Explain:


Official Form 1061                                               Schedule I: Your Income                                                       page 2
                   Case 23-52395-pmb                    Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                       Desc
                                                         Voluntary Petition Page 48 of 69

  Fill in this information to identify your case:


  Debtor 1              atie                   Citrt•                WW-en•Uk.A%—)
                      First Name              Middle Name               Last Name                        Check if this is:
  Debtor 2
  (Spouse, if filing) Flist Name              Middle Name               Last Name
                                                                                                         U An amended filing

                                                            •
  United States Bankruptcy Court for the: 1 )04144411DIStriCt Of    6e4-.9(•Ct
                                                                                                         U A supplement showing postpetition chapter 13
                                                                                                           expenses as of the following date:
  Case number                                                                                                MM / DD/ YYYY
  (If known)




Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                 12115

Use this form for Debtor 2's separate household expenses ONLY IF Debtor land Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1:            Describe Your Household

1.i Do ou and Debtor 1 maintain separate households?

             No. Do not complete this form.
   U         Yes

2. Do you have dependents?                   U No                                     Dependent's relationship to              Dependent's    Does dependent live
   Do not list Debtor 1 but list all           ' Yes. Fill out this information for   Debtor 2:                                age            with you?
                                         ,
   other dependents of Debtor 2                  each dependent
   regardless of whether listed as a                                                                                                          U No
   dependent of Debtor 1 on                                                                                                                   ..Er Yes
   Schedule J.                                     i
                                                                                                                                              CI No
   Do not state the dependents'
   names.                                                                                                                                     U Yes
                                                                                                                                              U No
                                                                                                                                              U Yes
                                                                                                                                              U No
                                                                                                                                              U Yes
                                                                                                                                              U NO
                                                                                                                                              U Yes

3. Do your expenses include
                                        dNo
   expenses of people other than
   yourself, your dependents, and        C.1 Yes
   Debtor 1?

Part 2:         Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule Your Income (Official Form 1061.)                                                Your experes

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
    any rent for the ground or lot.                                                                                      4.
                                                                                                                                 $13, ‘ota g              9
     If not included in line 4:
     4a. Real estate taxes                                                                                               4a.
     4b. Property, homeowner's, or renter's insurance                                                                    4b.
     4c. Home maintenance, repair, and upkeep expenses                                                                   4c.
     4d. Homeowner's association or condominium dues                                                                     4d.

  Official Form 1063-2                           Schedule 3-2: Expenses for Separate Household of Debtor 2                                               page 1
                  Case 23-52395-pmb                   Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                 Desc
                                                       Voluntary Petition Page 49 of 69

Debtor 1           ice
                  Fist Name
                                   orCide"
                                Middle Name        Last Name
                                                                                          Case number (if known)




                                                                                                                             Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                     5.

 6. Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.       $   137 5-1
                                                                                                                                 4

       6b. Water, sewer, garbage collection                                                                        6b.       $   x/57 ao
       6..   Telephone, cell phone, Internet, satellite, and cable services                                        6c.       $

       6d.   Other. Specify:                                                                                       6d.       $

 7. Food and housekeeping supplies                                                                                 7.        $                eo
 8. Childcare and children's education costs                                                                       8         $

 9. Clothing, laundry, and dry cleaning                                                                            9.        $   /24),
10. Personal care products and services                                                                            10.       $

11. Medical and dental expenses                                                                                    11.

12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.       $

14. Charitable contributions and religious donations                                                               14.       $

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                         15a.      $

       15b. Health insurance                                                                                       15b.      $

       15c. Vehicle insurance                                                                                      15c.      $

       15d. Other insurance. Specify:                                                                              15d.      $


16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.

17. Installment or lease payments:
                                                                                                                             $   76 - e   ,    C.)
       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.      $

       17c. Other. Specify:                                                                                        17c.      $

       17d. Other. Specify:                                                                                        17d.      $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                  18.   $


19. Other payments you make to support others who do not live with you.

       Specify*                                                                                                        19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.      $

       20b. Real estate taxes                                                                                      20b.      $

       20c. Property, homeowner's, or renter's insurance                                                           20c.

       20d. Maintenance, repair, and upkeep expenses                                                               20d.      $

       20e. Homeowner's association or condominium dues                                                            20e.



      Official Form 106J-2                     Schedule 3-2: Expenses for Separate Household of Debtor 2                                           page 2
              Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                          Desc
                                                     Voluntary Petition Page 50 of 69

Debtor 1                          Vet61 1014         ; /..C")4114A--                         Case number (If known)
              First Name    Middle Name           Last Name



21. Other. Specify:                                                                                                   21.


22. Your monthly expenses. Add lines 5 through 21.
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
    total expenses for Debtor 1 and Debtor 2.                                                                         22.



23.Line not used on this form.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgae payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
   L:1 Yes.     Explain here:




   Official Form 106J-2                        Schedule J-2: Expenses for Separate Household of Debtor 2                           page 3
                     Case 23-52395-pmb                 Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                    Desc
                                                        Voluntary Petition Page 51 of 69

     Fill in this information to identify your case:


     Debtor 1                                               1.041.140.44,
                        Filet Name           Middle Name              Last Name

     Debtor 2
     (Spouse, if filing) First Name          Middle Name              Last Name


     United States Bankruptcy Court for the:n(1411M District of

     Case number                                                                                                                        ij   Check if this is an
                        (If known)                                                                                                           amended filing




    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.



ME                 Summarize Your Assets


                                                                                                                                     Your assets
                                                                                                                                     Value of what you own

' 1. Schedule NB: Properly (Official Form 106A/B)
        la. Copy line 55, Total real estate, from Schedule NB                                                                            $

        lb. Copy line 62, Total personal property, from Schedule NB                                                                     3 70 00
        lc. Copy line 63, Total of all property on Schedule NB
                                                                                                                                           3ov
                   Summarize Your Liabilities



                                                                                                                                      Your liabilities
                                                                                                                                      Amount you owe

    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        za. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


    3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/0
        3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

        3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F



                                                                                                            Your total liabilities



    Part 3:        Summarize Your Income and Expenses


    4. Schedule I: Your Income (Official Form 1061)
I       Copy your combined monthly income from line 12 of Schedule

    5. Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J




    Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                        page l ot 2
                Case 23-52395-pmb                   Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                  Desc
                                                     Voluntary Petition Page 52 of 69
   Debtorl 01 /14fit         j3c      cLti        kre V14.14, `"-                               Case number (if known)
                First Name    Middle Name         Last Name




   Part 4:    Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      U,0/
         . You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
      9 Yes
   7. What kind of debt do you have?

      U Your debts are primarily consumer debts. Consumer debts are those Incurred by an individual primarily for a personal,
        family, or household purpose." 11U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


        From Part 4 on Schedule E/F, copy the following:


      9a.Domestic support obligations (Copy line 6a.)


      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


      9d. Student loans. (Copy line 6f.)


      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


       9g.Total. Add lines 9a through 9f.




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                       Case 23-52395-pmb                      Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                              Desc
                                                               Voluntary Petition Page 53 of 69
Fill in this information to identify your case:


Debtor 1          . /61 Yes c
                L 1
                    First Name
                                            u#14a6ii
                                              Middle Name
                                                                          iG-6,46frt
                                                                           Last Name

Debtor 2
(Spouse, if filing) First Name                Middle Name                  Last Name


United States Bankruptcy Court for the:                     District of

Case number
(If known)
                                                                                                                                                        LJ   Check if this is an
                                                                                                                                                             amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                   12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

     „grN 0
        U    Yes. Name of person                                                                   . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                       Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct




                                              hegta4A,
          Signature of Debtor 1                                                Signature of Debtor 2


          Date°                                                                Date
                 MM      DD      /   YYYY                                              MM/ DD /   YYYY




  Official Form 106Dec                                             Declaration About an Individual Debtor's Schedules
                     Case 23-52395-pmb                    Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                     Desc
                                                           Voluntary Petition Page 54 of 69
Fill in this information to identify your case:


Debtor 1           hivife
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name
                                                                                   .

United States Bankruptcy Court for the: debill'efri District of    &Col e A
Case number                                                                                                                                    U Check if this is an
 (If known)                                                                                                                                      amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12115

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                     What do you intend to do with the property that   Did you claim the property
                                                                                         secures a debt?                                   as exempt on Schedule C?

          Creditor's
          name:          ria,34k,ip Otredif-                                           10"Surrender the property.     i r---
                                                                                                                        - •
                                                                                        U Retain the property and redeem it.               U Yes
         Description of
         property                                                                      ATRetain the property and enter into a
                                                                                          Reaffirmation Agreement.
         securing debt:
                                 14er cede s eenz 61.                  550              U Retain the property and [explain]:



         Creditor's                                                                     U Surrender the property.                          U No
         name:
                                                                                        U Retain the property and redeem it.               U Yes
         Description of
         property                                                                       U Retain the property and enter into a
         securing debt:                                                                   Reaffirmation Agreement.
                                                                                        U Retain the property and [explain]:


         Creditor's                                                                     U Surrender the property.                          U No
         name:
                                                                                        U Retain the property and redeem it.               U Yes
         Description of
         property                                                                       U Retain the property and enter into a
         securing debt:                                                                   Reaffirmation Agreement.
                                                                                        U Retain the property and [explain]:


         Creditor's                                                                     U Surrender the property.                          U No
         name:
                                                                                        U Retain the property and redeem it.               U Yes
         Description of
         property                                                                       U Retain the property and enter into a
         securing debt:                                                                   Reaffirmation Agreement.
                                                                                        U Retain the property and [explain]:



  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                        page 1
               Case 23-52395-pmb                           Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                Desc
                                                            Voluntary Petition Page 55 of 69
 Debtor1   0,11atax
               Frst Name
                                    6     rideA
                                    Middle Name
                                                          Cflren411-0--
                                                         Lest Name
                                                                                                    Case number (If !mown)



  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                      Will the lease be assumed?

      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         U No
      Description of leased                                                                                                  U Yes
      property:


      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         U No
                                                                                                                             U Yes
      Description of leased
      property:



  Part 3:          Sign Below



    Under penalty of perjury,J4eç1are that I have indicated my intention about any property of my estate that secures a debt and any
    perspnal pr perty that i subj ct to an unexpired lease.
       ti

                                                  10
                                                  1

      Signature of Debtor 1                                               Signature of Debtor 2

      Date                                                                Date
             MM/    DD   /   YYYY                                                MM/   DO!   YYYY




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                         page 2
                   Case 23-52395-pmb                     Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                     Desc
                                                          Voluntary Petition Page 56 of 69
  Fill in this information to identify your case:                                                       Check one box only as directed in this form and in

 Debtor 1                      est-
                       First Name
                                           &tate-
                                                Middle Name
                                                                     7f.efsittt.i"
                                                                        Last Name
                                                                                                        Form 122A-1Supp:


                                                                                                        U 1. There is no presumption of abuse.
 Debtor 2
 (spouse, if filing)   First Name               Middle Name             Last Name                       U 2. The calculation to determine if a presumption of
                                                                                                             abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:(1041411'1"‘Drstrict of
                                                                                                             Means Test Calculation (Official Form 122A-2).
 Case number                                                                                            U 3. The Means Test does not apply now because of
  (If known)
                                                                                                             qualified military service but it could apply later.


                                                                                                        U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:             Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        U Not married. Fill out Column A, lines 2-11.
          M)pied and your spouse
        U 2n                  po     is filing with you. Fill out both Columns A and B, lines 2-11.
        a Married and your spouse is NOT filing with you. You and your spouse are:
               U       y,
                        ' ing in the same household and a re not legally separated. Fill out both Columns A and B, lines 2-11.
                 ,. Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
               ja..
                       under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                       spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A            Column B
                                                                                                          Debtor 1            Debtor 2 or
                                                                                                                              nontilin• spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).
   3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                       Debtor 1      Debtor 2
      or farm
        Gross receipts (before all deductions)                           $           $
        Ordinary and necessary operating expenses                     —$            —$ ____



        Net monthly income from a business, profession, or farm          $                      Copy
                                                                                     $          here.     $
   6. Net income from rental and other real property                   Debtor 1      Debtor 2
        Gross receipts (before all deductions)                           $           $
        Ordinary and necessary operating expenses                     —$            —$
        Net monthly income from rental or other real property            $            $         1=1:,     $
  7. Interest, dividends, and royalties                                                                   $----z



Official Form 122A-1                              Chapter? Statement of Your Current Monthly Income                                                   page 1
                Case 23-52395-pmb                  Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                         Desc
                                                    Voluntary Petition Page 57 of 69
            I
Debtor 1         h,'se !?)radii 61'.e filcw
                 First Name    Middle Name
                                                                                                Case number (if /mown)
                                                  Last Name


                                                                                                    Column A                  Column B
                                                                                                    Debtor                    Debtor 2 or
                                                                                                                              non-filing spouse
   8. Unemployment compensation
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
           For you
           For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.




        Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.
                                                                                                                                                   Total current
                                                                                                                                                   monthly income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                                           copy line 11 here+    1   $
                Multiply by 12 (the number of months in a year).                                                                                   X    12
      12b. The result is your annual income for this part of the form.                                                                  12b.   [   $

   13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.

      Fill in the number of people in your household.

      Fill in the median family income for your state and size of household.                                                            13.
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this form. This list may also be available at the bankruptcy clerk's office.


  14. How do the lines compare?


      14a.U       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3.



      14b.U       Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                        page 2
              Case 23-52395-pmb                      Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                      Desc
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Debtor 1
             .)   I
              •First/14rese
                    Na-ne
                              13(
                           Middle Name
                                        tido            (
                                                   Last Name
                                                            17/1161/1                             Case number (if knax0


 1:211            Sign Below

                  By signing here, I declare n
                                             ) 1er penalty of perjury that the information on this statement and in any attachments is true and correct.



                     Signature of Debtor 1                                                       Signature of Debtor 2

                     Date                                                                        Date
                            MM / DD   / YYYY                                                            MM/ DD /YYYY

                     If you checked line 14a, do NOT fill out or file Form 122A-2.
                     If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                 page 3
                   Case 23-52395-pmb              Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                        Desc
   Fill in this information to identify your case: Voluntary Petition Page 59 of 69

  Debtor 1                  fe.ie
                     First Name                Middle Name
                                                                    rrogan Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name                 Last Name


  United States Bankruptcy Court for the:                    District of

  Case number
   (If known)

                                                                                                            Check if this is an amended filing




Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12115

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11U.S.C. fi 707(b)(2)(C).



Part 1:         Identify the Kind of Debts You Have


1. Are your debts primarily consumer debts? Consumer debts are defined in 11U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

   U No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
         submit ttiis supplement with the signed Form 122A-1.
   EKles. Go to Part 2.


Part 2:         Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

        No. Go to line 3.

   U Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                 U No. Go to line 3.

                 U Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.

3. Are yo'n or have you been a Reservist or member of the National Guard?
   U / No. Complete Form 122A-1. Do not submit this supplement.
   U Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

        U No. Complete Form 122A-1. Do not submit this supplement.
        U Yes. Check any one of the following categories that applies:

                   I was called to active duty after September 11, 2001, for at least          If you checked one of the categories to the left, go to
                   90 days and remain on active duty.                                          Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
                   I was called to active duty after September 11, 2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
                   90 days and was released from active duty on
                                                                                               Form 122A-1. You are not required to fill out the rest of
                   which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
                LI I am performing a homeland defense activity for at least 90 days.           exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
                   I performed a homeland defense activity for at least 90 days,               540 days afterward. 11U.S.C. § 707(b)(2)(D)(ii).
                   ending on                      , which is fewer than 540 days
                                                                                               If your exclusion period ends before your case is closed,
                   before I file this bankruptcy case.
                                                                                               you may have to file an amended form later.


 Official Form 122A-1Supp                   Statement of Exemption from Presumption of Abuse Under fi 707(b)(2)
                   Case 23-52395-pmb                              Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                  Desc
                                                                   Voluntary Petition Page 60 of 69

                                                                                                                           Check the appropriate box as directed in
 Fill in this information to identify your case:
                                                                                                                           hoes 40 or 42:


 Debtor 1          e       I      re       6r          adeti                )r e .44/1te/ 1                                According to the calculations required by
                       First Name                     Middle Name                  Last Name                               this Statement:
 Debtor 2
 (Spouse, if filing)   First Name                     Middle Name                  Last Name '                             U 1. There is no presumption of abuse.
                                               t')
 United States Bankruptcy Court for the:   I         IV4 ""4"1"     District of              t                             U 2. There is a presumption of abuse.

 Case number
 (If known)                                                                                                                U Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).




an              Determine Your Adjusted Income



1. Copy your total current monthly income.                                                        Copy line 11 from Official Form 122A-1 here.


2. Did yqu fill out Column B in Part 1 of Form 122A-1?
   „,""
 „La No. Fill in $0 for the total on line 3.

     U    Yes. Is your spouse filing with you?

          U No. Go to line 3.

          U Yes. Fill in $0 for the total on line 3.


3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
     regularly used for the household expenses of you or your dependents?

 ,       " No. Fill in 0 for the total on line 3.

     U    Yes. Fill in the information below:

              State each purpose for which the income was used                                   Fill in the amount you
              For example, the income is used to pay your spouse's tax debt or to support        are subtracting from
              people other than you or your dependents                                           your spouse's income




                                                                                                  $


             Total.
                                                                                                                          Copy total here         4     —$



4. Adjust your current monthly income. Subtract the total on line 3 from line 1.




 Official Form 122A- 2                                                      Chapter 7 Means Test Calculation                                                 page 1
               Case 23-52395-pmb                   Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                 Desc
Debtor 1      6    ,6tre4.e
               First Name
                                 131o(//en
                              Middle Name
                                                    Voluntary Petition Page 61 of 69
                                                   rerema,i4
                                                 Last Name
                                                                                              Case number it known)


Part 2:       Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk's office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.



   National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
      under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a. Out-of-pocket health care allowance per person



       7h. Number of people who are under 65



       7c. Subtotal. Multiply line 7a by line 7b.                                    Copy here+       $




           People who are 65 years of age or older


       7d. Out-of-pocket health care allowance per person


       7e.    Number of people who are 65 or older


       7f. Subtotal. Multiply line 7d by line 7e.                                    Copy here+        $



       7g. Total. Add lines 7c and 7f                                                                                   Copy total here+




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                 page 2
             Case 23-52395-pmb                    Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                Desc
Debtor 1         Ilare5e
              First Name
                                6re, deli)
                             Middle Name
                                                   Voluntary Petition Page 62 of 69
                                                    r f---262 /44a.,4
                                                 Last Name
                                                                                                  Case number (if known)


   Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   •   Housing and utilities — Insurance and operating expenses
   •   Housing and utilities — Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.

   9. Housing and utilities — Mortgage or rent expenses:

       9a.Using the number of people you entered in line 5, fill in the dollar amount listed
          for your county for mortgage or rent expenses

       9b.Total average monthly payment for all mortgages and other debts secured by your home.


           To calculate the total average monthly payment, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

            Name of the creditor                                              Average monthly
                                                                              payment




                                                                               $

                                                                                                       Copy                 Repeat this
                                     Total average monthly payment                                                          amount on
                                                                                                       here.     —$         line 33a.

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                       Copy  $
           rent expense). If this amount is less than $0, enter $0.                                                         here.



   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects               0
       the calculation of your monthly expenses, fill in any additional amount you claim.
       Explain
       why:



   11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       L:1 0. Go to line 14.
       1:1 1. Go to line 12.
       1:1 2 or more. Go to line 12.


   12.Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
      operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




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Debtor 1                                         /44471                                          Case number yrialown)
                First Name         Middle Name        Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


           Vehicle 1         Describe Vehicle 1:




           13a. Ownership or leasing costs using IRS Local Standard.

       13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.

                To calculate the average monthly payment here and on line 13e, add all
                amounts that are contractually due to each secured creditor in the 60 months
                after you filed for bankruptcy. Then divide by 60.

                       Name of each creditor for Vehicle 1               Average monthly
                                                                         payment




                                                                            $

                                                                                               Copy                          Repeat this
                                     Total average monthly payment                                                           amount on
                                                                                               here.       —                 line 33b.

                                                                                                                             Copy net
           13c. Net Vehicle 1 ownership or lease expense                                                                     Vehicle 1
               Subtract line 13b from line 13a. If this amount is less than $0, enter $0.                                    expense
                                                                                                                             here    4

           Vehicle 2         Describe Vehicle 2:




           13d. Ownership or leasing costs using IRS Local Standard.

           13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                       Name of each creditor for Vehicle 2               Average monthly
                                                                         payment




                                                                            $


                                                                                                Copy                          Repeat this
                                      Total average monthly payment                                                           amount on
                                                                                                here4          $              line 33c.

                                                                                                                             Copy net
           13f. Net Vehicle 2 ownership or lease expense                                                                     Vehicle 2
                Subtract line 13e from 13d. If this amount is less than $0, enter $0                                         expense
                                                                                                                             here ...4


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.


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Debtor 1         ij g re4;e 1/3Kor den                         -i,eki//ecm-t                    Case number (if known)
             Rtst Name      Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
       • as a condition for your job, or
       • for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it          $
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.
       Add lines 6 through 23.




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Debtor 1               617( 25             6(dem       scare,r44.4-7                             Case number (rknown)
               First Name        Middle Name       Last Name




   Additional Expense Deductions               These are additional deductions allowed by the Means Test.
                                               Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance

       Disability insurance

       Health savings account

       Total                                                                                        Copy total here+

       Do you actually spend this total amount?

       LI No. How much do you actually spend?
       U Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
     household or member of your immediate family who is unable to pay for such expenses. These expenses may include
     contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
     If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58*
     per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
     elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
     reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial             +
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.
       Add lines 25 through 31.




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Debtor 1      0,1„41e5,
                First Name     Middle Name
                                           aidev,      Voluntary
                                                        roremo
                                                     Last Name
                                                                 Petition Page 66 of 69
                                                                                                         Case number (if known)




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.

       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                      Average monthly
                                                                                                                      payment
                Mortgages on your home:

           33a. Copy line 9b here                                                                           •.)        $

                Loans on your first two vehicles:

           33b. Copy line 13b here.


           33c. Copy line 13e here.

           33d. List other secured debts:

                  Name of each creditor for other                Identify property that           Does payment
                  secured debt                                   secures the debt                 include taxes
                                                                                                  or insurance?

                                                                                                       No
                                                                                                       Yes

                                                                                                       No
                                                                                                       Yes

                                                                                                       No
                                                                                                                      +$
                                                                                                       Yes

                                                                                                                                          Copy total
      33e.Total average monthly payment. Add lines 33a through 33d
                                                                                                                  Ts                      here.


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?


       13 No. Go to line 35.
       U Yes. State any amount that you must pay to a creditor, in addition to the payments
              listed in line 33, to keep possession of your property (called the cure amount).
              Next, divide by 60 and fill in the information below.

                    Name of the creditor            Identify property that           Total cure                        Monthly cure
                                                    secures the debt                 amount                            amount

                                                                                    $                 +60=             $


                                                                                                      +60=

                                                                                                      +60=            +$

                                                                                                                                        1Copy total
                                                                                                      Total       I    $
                                                                                                                                         here.


   35. Do you owe any priority claims such as a priority tax, child support, or alimony —
       that are past due as of the filing date of your bankruptcy case? 11U.S.C. § 507.

       U No. Go to line 36.
       U Yes. Fill in the total amount of all of these priority claims. Do not include current or
              ongoing priority claims, such as those you listed in line 19.

                   Total amount of all past-due priority claims
                                                                                                                                         ÷60=

Official Form 122A-2                                               Chapter 7 Means Test Calculation                                                    page 7
             Case 23-52395-pmb                       Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                            Desc
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Debtor 1     ,i/)&vre'Se       I3(adevirerewa,k7                                                     Case number (if known)
              First Name     Middle Name           Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.
       U No. Go to line 37.
       U Yes. Fill in the following information.

                  Projected monthly plan payment if you were filing under Chapter 13
                 Current multiplier for your district as stated on the list issued by the
                 Administrative Office of the United States Courts (for districts in Alabama and
                 North Carolina) or by the Executive Office for United States Trustees (for all
                 other districts).                                                                             X
                 To find a list of district multipliers that includes your district, go online using the
                 link specified in the separate instructions for this form. This list may also be
                 available at the bankruptcy clerk's office.
                                                                                                                                     Copy total
                 Average monthly administrative expense if you were filing under Chapter 13
                                                                                                                                     here+


   37. Add all of the deductions for debt payment.
       Add lines 33e through 36.


   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, Al! of the expenses allowed under IRS
      expense allowances

      Copy line 32, All of the additional expense deductions


      Copy line 37, All of the deductions for debt payment               +$

                                                   Total deductions r      $                               Copy total here                 4


   Part 3:      Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

       39a. Copy line 4, adjusted current monthly income

       39b. Copy line 38, Total deductions                              — $

       39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                              Copy
            Subtract line 39b from line 39a.                                                               here+

              For the next 60 months (5 years)                                                                                X 60

                                                                                                                                          Copy
       39d. Total. Multiply line 39c by 60.
                                                                                                                                          here+



   40. Find out whether there is a presumption of abuse. Check the box that applies:

       U The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
         Part 5.

       U The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
         may fill out Part 4 if you claim special circumstances. Then go to Part 5.

       U The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

           * Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.


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Debtor 1           1   i4c(rese &oder)                    rfiketyietil)                           Case number (if known)
               e   M Name        NOWNmve              Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form

                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11U.S.C. § 707(b)(2)(A)(i)(1).                                           Copy
               Multiply line 41a by 0.25.                                                                                           —1 h re.




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

       U Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
         Go to Part 5.


       U Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There is a presumption
         of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:        Give Details About Special Circumstances


43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11U.S.C. § 707(b)(2)(B).


   U No. Go to Part 5.

   U Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
          for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.


               Give a detailed explanation of the special circumstances                                                Average monthly expense
                                                                                                                       or income adjustment




Part 5:       Sign Below


              By signing here, I dec re under penalty of perjury that the information on this statement and in any attachments is true and correct.



                                                 a1V2A4-4./adv\_,,
                   Signature of Debtor 1                                                  Signature of Debtor 2
                                           L.,

                   Date                                                                   Date
                          MM/DD     / YYYY                                                       MM/DD / YYYY



Official Form 122A-2                                              Chapter 7 Means Test Calculation                                               page 9
               Case 23-52395-pmb                 Doc 1 Filed 03/13/23 Entered 03/13/23 13:09:10                                     Desc
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Case Number:23-52395                            Name: Foreman Chapter: 7                            Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.


1E] Individual - Series 100 Forms                                                        0 Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 ZI Complete List of Creditors (names and addresses of all creditors)                    0 Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                     0 Statistical Estimates
 O Signed Statement of SSN                                                               El Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                           Case filed via:
O Schedules: A/B C D El FGHIJ El J-2 (separate household of Debtor 2)            IZ Intake Counter by:
O Summary of Assets and Liabilities                                                   El Attorney
El Declaration About Debtor(s) Schedules                                              El Debtor
0 Attorney Disclosure of Compensation                                                 O Other:
O Petition Preparer's Notice, Declaration and Signature (Form 119)               0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                       0 Attorney
O Chapter 13 Current Monthly Income                                                 O Debtor
O Chapter 7 Current Monthly Income                                                  O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                            0 Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                      was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & II)                                             History of Case Association
                                                                                 Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
El Statement of Intent — Ch.7 (Individuals only)
Ch.11 Business
                                                                                 Signature:       iNS-Lble              (.11 112.4Akttit
                                                                                 Acknowledgment of receipt o             iciency Notice
El 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                  Intake Clerk:     JIVI           ID Verified Ei Date:3/13/23
LI Small Business - Statement of Operations
O Small Business - Cash Flow Statement
El Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
      0 Paid $
       0 Pending Pay.Gov, Paid $
       ▪   IFP filed (Ch.7 Individuals Only)
       •   2g-Order Granting        El 3g-Order Granting 10-day (initial payment of $                78      due within 10 days)
       •   2d-Order Denying with filing fee of $                due within 10 days
       0 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
